               Case 1:19-cv-00656-CJN Document 15 Filed 10/18/19 Page 1 of 3




 1 Jay M. Wolman (D.C Bar No. 473756)
   Marc J. Randazza (Pro Hac Vice)
 2 RANDAZZA LEGAL GROUP, PLLC
   100 Pearl Street, 14th Floor
 3 Hartford, CT 06103

 4 Tel: (702) 420-2001
   ecf@randazza.com
 5
   Counsel for Defendants Alex E. Jones, Owen
 6 Shroyer, Free Speech Systems, LLC, and
   Infowars, LLC
 7
                                 UNITED STATES DISTRICT COURT
 8
                                      DISTRICT OF COLUMBIA
 9

10
     JEROME CORSI and LARRY KLAYMAN,
11
                    Plaintiffs,                           CIVIL ACTION NO. 1:19-cv-00656-CJN
12
            vs.                                           RESPONSE TO MOTION FOR STATUS
13                                                        CONFERENCE
   INFOWARS, LLC, FREE SPEECH
14 SYSTEMS, LLC, ALEX E. JONES, DAVID
   JONES, and OWEN SHROYER,
15
               Defendants.
16

17

18
            Pending before this Court is Defendants’ Motion to Dismiss (Doc. No. 7), which was filed
19
     and briefed prior to the reassignment of this case on July 5, 2019. As the current judge has had
20
     the motion for only three months, Defendants Infowars, LLC, Free Speech Systems, LLC, Alex
21
     Jones, and Owen Shroyer (“Defendants”) do not believe there is any great need for the parties to
22
     appear for a status conference as moved by Plaintiffs (Doc. No. 13). In fact, Plaintiffs offer no
23
     reason for it, other than the fact that Mr. Klayman will happen to be in town on an unrelated matter,
24
     and did not confer as to its purpose per LCvR 7.1(m). Defendants similarly agree with the response
25
     of Defendant David Jones (Doc. No. 14). Should the matter survive the motion to dismiss, of
26

27                                                    1
28                                 Response to Motion for Status Conference
                                             1:19-cv-00656-CJN
              Case 1:19-cv-00656-CJN Document 15 Filed 10/18/19 Page 2 of 3




 1 course, Defendants will certainly work with Plaintiffs and the Court to advance this case through

 2 discovery and disposition. However, at this time, Defendants do not believe a status conference

 3 is required nor likely helpful to the disposition of the case.

 4          In the event the Court is inclined to schedule a status conference, however, counsel for

 5 Defendants will confer with Plaintiffs as to a mutually agreeable date, if possible. At present,

 6 however, the date range proposed presents numerous conflicts.

 7

 8          Dated: October 18, 2019.                      Respectfully submitted,

 9                                                        /s/ Jay M. Wolman
                                                          Jay M. Wolman
10                                                        (D.D.C. Bar No. 473756)
                                                          RANDAZZA LEGAL GROUP, PLLC
11                                                        100 Pearl Street, 14th Floor
12                                                        Hartford, Connecticut 06103
                                                          Tel: (702) 420-2001
13                                                        Email: ecf@randazza.com

14                                                        Marc J. Randazza
                                                          pro hac vice
15
                                                          RANDAZZA LEGAL GROUP, PLLC
16                                                        2764 Lake Sahara Drive, Suite 109
                                                          Las Vegas, NV 89117
17                                                        Tel: (702) 420-2001
                                                          Email: ecf@randazza.com
18
                                                          Attorneys for Defendants Alex E. Jones,
19
                                                          Owen Shroyer, Free Speech Systems, LLC,
20                                                        and Infowars, LLC

21

22

23

24

25

26

27                                                   2
28                                Response to Motion for Status Conference
                                            1:19-cv-00656-CJN
             Case 1:19-cv-00656-CJN Document 15 Filed 10/18/19 Page 3 of 3




 1

 2                                                              Civil Action No. 1:19-cv-00656-CJN

 3                                 CERTIFICATE OF SERVICE

 4         I hereby certify that a true and correct copy of the above document was filed and served

 5 upon all parties of record on October 18, 2019 by CM/ECF, the court’s electronic filing system.

 6
                                                        /s/ Jay M. Wolman
 7                                                      Jay M. Wolman
 8
 9

10

11
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27                                                  3
28                               Response to Motion for Status Conference
                                           1:19-cv-00656-CJN
